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6
                                UNITED STATES DISTRICT COURT
7                              WESTERN DISTRICT OF WASHINGTON
8                                        AT SEATTLE

9     MICHELE DEVORA-McNABB,                              Case No. _____________________
10                            Plaintiff,                  PLAINTIFF’S COMPLAINT FOR
11                                                        DAMAGES
      v.
12                                                        JURY TRIAL DEMANDED
      BNSF RAILWAY COMPANY,
13    a Delaware corporation

14                            Defendant.
15

16           Plaintiff Michele Devora-McNabb, (“Plaintiff”), by and through her undersigned counsel, and
17   for her causes of action against Defendant BNSF Railway Company (“Defendant”), a Delaware
18   corporation, hereby states and alleges as follows:
19                                  I.      PARTIES & JURISDICTION
20           1.      That at all material times, Plaintiff was and is a resident of the state of Washington.
21           2.      That at all material times, Defendant was and is a corporation duly organized and
22   existing under the laws of the state of Delaware, and was operating a system of railroad tracks in
23   the state of Washington and other states, and that said system included lines of track in the district
24   where this action is filed.
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      PLAINTIFF’S COMPLAINT                                                    ROSSI VUCINOVICH                P.C.
                                                                                  1000 Second Avenue, Suite 1780
      FOR DAMAGES - Page 1                                                           Seattle, Washington 98104
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1           3.      That at all times material herein, Defendant was an interstate carrier by rail and was

2    engaged in interstate, foreign, and/or intrastate transportation and commerce; that Plaintiff was

3    employed by Defendant as a conductor, and as such was working and engaged in interstate

4    transportation and commerce at the times hereinafter set forth, and at such times was working in

5    the furtherance of Defendant’s interstate commerce, and in work which directly, closely, and

6    substantially affected the general interstate commerce carried on by said Defendant as a railroad

7    common carrier of freight for hire.

8           4.      That this Court has jurisdiction pursuant to 28 U.S.C. §1331.

9           5.      That this action is timely commenced within the applicable statute of limitation or

10   the meaning of 45 U.S.C. §56.

11                             II.    COUNT ONE: FELA NEGLIGENCE

12          6.      Plaintiff realleges and incorporates by reference the allegations contained in

13   paragraphs 1 through 5 of this Complaint as though fully set forth herein.

14          7.      That on May 23, 2021, Plaintiff was employed by Defendant as a conductor and

15   performing switching maneuvers at or about the Petro Gas/Conoco facilities which are located

16   approximately near MP 8.8 on the Cherry Point Subdivision.

17          8.      That on May 23, 2021 at approximately 0400 hours, Defendant lost control of the train

18   which contained multiple loads of highly flammable and dangerous commodities, including butane

19   and propane.

20          9.      That in response to this emergency situation posed by the uncontrolled train, Plaintiff

21   attempted to access and activate the emergency handle on the caboose to try and stop the train from

22   crashing into the gate and exploding.

23          10.     That while so engaged, Plaintiff was suddenly and unexpectedly crushed between the

24   side of the moving train and the Conoco facility’s fence.

25          11.     That Plaintiff sustained multiple injuries requiring immediate evacuation and

     emergency hospitalization.

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1             12.    That the injuries and damages suffered by Plaintiff as a result of the incident on

2    May 23, 2021, were caused, in whole or in part, by the negligence of Defendant, its agents,

3    employees and/or officers, and in violation of 45 U.S.C. § 51 et seq., including, but not limited to:

4             a.     Failing to provide Plaintiff with reasonably safe work conditions;

5             b.     Negligently creating and/or permitting unreasonably dangerous and hazardous

6                    conditions to exist on its tracks;

7             c.     Failing and neglecting to properly inspect, maintain, identify, and/or remedy

8                    unreasonably dangerous conditions which existed in Defendant’s equipment and

9                    tracks;

10            d.     Failing and neglecting to adequately warn Plaintiff of unreasonably dangerous and

11                   hazardous conditions which existed on Defendant’s tracks; and

12            e.     Other acts of negligence.

13            13.    That due, in whole or in part, to Defendant’s negligence under the FELA, Plaintiff

14   sustained severe and permanent injuries including, but not limited to, injuries to her ribs, lung,

15   shoulder, kidney, spine, and the bones, muscles, tissues, nerves, ligaments and internal parts

16   thereof, as well as psychological trauma; and Plaintiff has suffered in the past, and will continue

17   to suffer pain and anguish and loss of enjoyment of life, and that she was otherwise injured and

18   disabled.

19            14.    That in an effort to treat, heal, and relieve her injuries, Plaintiff has spent, and will

20   continue to spend, monies for medical and related care and treatment in amounts to be proven at

21   trial.

22            15.    That as a direct result, in whole or in part, of Defendant’s negligence under the

23   FELA, Plaintiff has lost wages in the past, will continue to lose wages in the future, and will sustain

24   a permanent diminution of earning capacity and loss of fringe benefits in amounts to be proven by

25   the evidence at the trial of this matter.



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1                           III.    COUNT TWO: SAA – STRICT LIABILITY

2            16.     That Plaintiff repeats and incorporates by reference herein, all the foregoing

3    paragraphs as if fully set forth in detail herein.

4            17.     That the injuries sustained by Plaintiff and the resulting damages came about as a

5    direct result, in whole or in part, of Defendant's violation of 49 U.S.C. §§ 20301 - 20306,

6    commonly known as the Federal Safety Appliance Act (SAA), thereby implicating the provisions

7    of 45 U.S.C. § 53.

8            18.     That violation of the SAA gives rise to a strict liability/negligence per se cause of

9    action under the FELA.

10           19.     That as a direct result, in whole or in part, of Defendant's violation of the SAA,

11   Plaintiff sustained severe injuries and damages as set forth above.

12                           IV.     COUNT THREE: LIA – STRICT LIABILITY

13           20.     That Plaintiff repeats and incorporates by reference herein, all the foregoing

14   paragraphs as if fully set forth in detail herein.

15           21.     That the injuries sustained by Plaintiff and the resulting damages came about as a

16   direct result, in whole or in part, of Defendant's violation of 49 U.S.C. §§ 20701 - 20703,

17   commonly known as the Federal Locomotive Inspection Act (LIA), thereby implicating the

18   provisions of 45 U.S.C. § 53.

19           22.     That violation of the LIA gives rise to a strict liability/negligence per se cause of

20   action under the FELA.

21           23.     That as a direct result, in whole or in part, of Defendant's violation of the LIA,

22   Plaintiff sustained severe injuries and damages as set forth above.

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1                     V.      COUNT FOUR: CODE OF FEDERAL REGULATIONS -

2                                             STRICT LIABILITY

3            24.     That Plaintiff repeats and incorporates by reference herein, all the foregoing

4    paragraphs as if fully set forth in detail herein.

5            25.     That the injuries sustained by Plaintiff and the resulting damages were caused, in

6    whole or in part, by the Defendant's direct violation of applicable sections of the Code of Federal

7    Regulations (C.F.R.), including but not limited to 49 C.F.R. Part 220, and that the violation of said

8    regulations implicates the provisions of 45 U.S.C. §§ 53 and 54a.

9            26.     That violation of said Federal Regulations gives rise to a strict liability/negligence

10   per se cause of action under the FELA.

11           27.     That as a direct result, in whole or in part, of Defendant's violation of Federal

12   Regulations, Plaintiff sustained severe injuries and damages as set forth above.

13                                      VI.      REQUEST FOR RELIEF

14           THEREFORE, Plaintiff respectfully requests that judgment be entered against the

15   above-named Defendant for special and general damages in an amount established by the

16   evidence, together with all costs and disbursements, and other relief the court may deem

17   appropriate.

18   Dated: June 29, 2021
                                                     ROSSI VUCINOVICH PC
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20                                                   By: s/ James K. Vucinovich
                                                     James K. Vucinovich, WSBA No. 29199
21                                                   ATTORNEY FOR PLAINTIFF

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